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 7                            UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
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10   TATIANA KOROLSHTEYN, on behalf                       Case No.: 3:15-cv-709-CAB-RBB
     of herself and all others similarly situated,
11
                                         Plaintiff,       ORDER GRANTING MOTION FOR
12                                                        CLASS CERTIFICATION
     v.
13
     COSTCO WHOLESALE                                     [Doc. No. 105]
14
     CORPORATION and NBTY, INC.,
15                                   Defendants.
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17         This matter is before the Court on Plaintiff’s motion for class certification. The
18   motion has been fully briefed, and the Court deems it suitable for submission without oral
19   argument. As discussed below, the motion is granted.
20         I.     Background
21         This case arises out of Defendants’ alleged false statements about the health benefits
22   of TruNature Gingko Biloba with Vinpocetine (“TruNature Gingko”), which is
23   manufactured by Defendant NBTY, Inc. (“NBTY”) and sold at the stores of Defendant
24   Costco Wholesale Corporation (“Costco”). The labels of TruNature Gingko represent that
25   the product “supports alertness & memory,” that “Gingko biloba can help with mental
26   clarity and memory,” and that “[i]t also helps maintain healthy blood flow to the brain to
27   assist mental clarity and memory, especially occasional mild memory problems associated
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 1   with aging.” [Doc. No. 100 at ¶ 1.] According to the TAC, these representations are false
 2   because studies show that gingko biloba and vinpocetine do not provide any mental clarity,
 3   memory or mental alertness benefits. [Id. at ¶ 2.] Plaintiff Tatiana Korolshteyn alleges
 4   she bought a bottle of TruNature Gingko based on the allegedly false representations on
 5   the product label and filed this lawsuit on behalf of herself and a putative class of
 6   consumers who purchased TruNature Gingko in California. The TAC asserts two claims:
 7   (1) violation of California’s unfair competition law (the “UCL”), California Business &
 8   Professions Code § 17200 et seq.; and (2) violation of California’s Consumer Legal
 9   Remedies Act (“CLRA”), California Civil Code § 1750 et seq. The prayer for relief asks
10   for restitution and disgorgement of Defendants’ revenues, actual, statutory and punitive
11   damages, and attorneys’ fees and costs. [Id. at p. 15.] She now moves to certify a class.
12         II.    Legal Standard for Class Certification
13         “The class action is an exception to the usual rule that litigation is conducted by and
14   on behalf of the individual named parties only.” Wal–Mart v. Dukes, 564 U.S. 338, 348
15   (2011) (internal quotation marks omitted). “Parties seeking class certification must satisfy
16   each of the four requirements of [Federal Rule of Civil Procedure] 23(a) . . . and at least
17   one of the requirements of Rule 23(b).” Briseno v. ConAgra Foods, Inc., 844 F.3d 1121,
18   1124 (9th Cir. 2017). “Rule 23(a) states four threshold requirements applicable to all class
19   actions: (1) numerosity (a class so large that joinder of all members is impracticable); (2)
20   commonality (questions of law or fact common to the class); (3) typicality (named parties’
21   claims or defenses are typical of the class); and (4) adequacy of representation
22   (representatives will fairly and adequately protect the interests of the class). Amchem
23   Prods, Inc. v. Windsor, 521 U.S. 591, 613 (1997) (internal quotation marks, brackets, and
24   ellipses omitted).
25         Plaintiff here contends that in addition to satisfying these four Rule 23(a)
26   requirements, class certification is warranted under Rule 23(b)(3). Rule 23(b)(3) “requires
27   that common questions of law or fact found under Rule 23(a)(2) ‘predominate over any
28   questions affecting only individual members, and that a class action is superior to other

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 1   available methods for fairly and efficiently adjudicating the controversy.’” Torres v.
 2   Mercer Canyons Inc., 835 F.3d 1125, 1132 (9th Cir. 2016).
 3         In considering class certification, district courts must engage in “a rigorous analysis”
 4   to determine whether “the prerequisites of Rule 23(a) have been satisfied.” Dukes, 564
 5   U.S. at 350-51 (citing Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 161 (1982)). “[T]he
 6   merits of the class members’ substantive claims are often highly relevant when determining
 7   whether to certify a class.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 981 (9th Cir.
 8   2011). Thus, “a district court must consider the merits if they overlap with the Rule 23(a)
 9   requirements.” Id. (emphasis in original). At the same time, courts “consider merits
10   questions at the class certification stage only to the extent they are relevant to whether Rule
11   23 requirements have been met.” Torres, 835 F.3d at 1133 (emphasis added). “While
12   some evaluation of the merits frequently cannot be helped in evaluating commonality, that
13   likelihood of overlap with the merits is no license to engage in free-ranging merits inquiries
14   at the certification stage.” Stockwell v. City & Cty. of San Francisco, 749 F.3d 1107, 1111
15   (9th Cir. 2014) (internal quotation marks and citation omitted). “A court, when asked to
16   certify a class, is merely to decide a suitable method of adjudicating the case and should
17   not turn class certification into a mini-trial on the merits.” Edwards v. First Am. Corp.,
18   798 F.3d 1172, 1178 (9th Cir. 2015).
19         III.   Motions to Exclude or Strike Declarations and Expert Reports
20         “On a motion for class certification, the Court makes no findings of fact and
21   announces no ultimate conclusions on Plaintiffs' claims.” Keilholtz v. Lennox Hearth Prod.
22   Inc., 268 F.R.D. 330, 337 (N.D. Cal. 2010). Thus, at the class certification stage, “the
23   Court may consider evidence that may not be admissible at trial.” Aguirre v. Genesis
24   Logistics, No. SACV1200687JVSANX, 2016 WL 6573986, at *2 (C.D. Cal. July 20,
25   2016). One court even noted that a “district court may certify a class without supporting
26   evidence.” Dominguez v. Schwarzenegger, 270 F.R.D. 477, 483 n.5 (N.D. Cal. 2010)
27   (citing Hanon v. Dataproducts Corp., 976 F.2d 497, 509 (9th Cir. 1992)). “Accordingly,
28   the court need not address the ultimate admissibility of the parties' proffered exhibits,

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 1   documents and testimony at this stage, and may consider them where necessary for
 2   resolution of the motion for class certification.” Aguirre, 2016 WL 6573986, at *2 (internal
 3   quotation marks and brackets omitted).
 4         Here, in conjunction with the motion, the parties have combined to submit numerous
 5   declarations and expert reports and dozens of exhibits that they claim support their
 6   arguments for or against class certification. Perhaps unsurprisingly, these voluminous
 7   evidentiary submissions have yielded three separate motions to exclude the reports or
 8   declarations of four different experts or witnesses purportedly offering expert testimony.
 9   That the evidence does or does not support the putative class’ claims is a separate question
10   from whether a plaintiff may assert those claims on behalf of a class. The parties may
11   disagree about the admissibility various expert reports and other declarations, but the
12   admissibility of this testimony is largely inconsequential to the Court’s current task of
13   determining whether Plaintiff’s claims are appropriate for determination on a classwide
14   basis. Accordingly, the motions to exclude or strike the declarations, testimony or reports
15   of Richard Bazinet, Beth Snitz, Susan Mitmesser, and Edward Rosick are all denied
16   without prejudice. The parties are welcome to re-file these motions in connection with
17   summary judgment motions or as motions in limine consistent with the deadlines set by
18   the applicable case management orders and local rules.
19         IV.    Discussion
20                A.    The Proposed Class(es)
21         Plaintiff seeks certification of a California-only UCL Class and a California-only
22   CLRA Class, but the classes are identical: “All California consumers who, within the
23   applicable statute of limitations, purchased TruNature Gingko Biloba with Vinpocetine
24   until the date notice is disseminated.” [Doc. No. 107 at 20.] “For purposes of class
25   certification, the UCL . . . and CLRA are materially indistinguishable.” Forcellati v.
26   Hyland’s, Inc., No. CV 12-1983-GHK (MRWx), 2014 WL 1410264, at *9 (C.D. Cal. Apr.
27   9, 2014). “[C]lass certification of UCL claims is available only to those class members
28   who were actually exposed to the business practices at issue.” Berger v. Home Depot USA,

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 1   Inc., 741 F.3d 1061, 1068 (9th Cir. 2014).
 2         “To state a claim under the UCL . . . ‘based on false advertising or promotional
 3   practices, it is necessary only to show that members of the public are likely to be
 4   deceived.’” Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979, 985 (9th Cir. 2015)
 5   (quoting In re Tobacco II Cases, 46 Cal. 4th 298, 312 (2009)). “This inquiry does not
 6   require ‘individualized proof of deception, reliance and injury.’” Id. (quoting In re
 7   Tobacco II Cases, 46 Cal. 4th at 320).            “Thus, a court need not make individual
 8   determinations regarding entitlement to restitution. Instead, restitution is available on a
 9   classwide basis once the class representative makes the threshold showing of liability under
10   the UCL.” Id. at 986.
11         Meanwhile, “[u]nlike the UCL, the CLRA demands that each potential class member
12   have both an actual injury and show that the injury was caused by the challenged practice.
13   However, if a material misrepresentation has been made to the entire class, an inference of
14   reliance arises as to the class.” Berger, 741 F.3d at 1069-70 (internal citation and quotation
15   marks omitted). “As a general rule, materiality may be established by common proof
16   ‘[b]ecause materiality is judged according to an objective standard,’ and so ‘[t]he alleged
17   misrepresentations and omissions, whether material or immaterial, would be so equally for
18   all [consumers] composing the class.’” Mullins v. Premier Nutrition Corp., No. 13-cv-
19   1271-RS, 2016 WL 1535057, at *5 (N.D. Cal. Apr. 15, 2016) (quoting Amgen Inc. v. Conn.
20   Ret. Plans and Trust Funds, 133 S. Ct. 1184, 1191 (2013)); see also McCrary v. Elations
21   Co., LLC, No. EDCV 13-00242 JGB OP, 2014 WL 1779243, at *14 (C.D. Cal. Jan. 13,
22   2014) (“[T]he determination of materiality, and thus reliance, is determined using objective
23   criteria that apply to the entire class and do not require individualized determination.”); In
24   re Steroid Hormone Prod. Cases, 181 Cal. App. 4th 145, 157 (Cal. Ct. App. 2010)
25   (“Materiality of the alleged misrepresentation generally is judged by a ‘reasonable man’
26   standard.”).
27         Here, the only alleged misrepresentations in question appeared on the labels of the
28   products purchased by class members. Whether these representations were material to a

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 1   reasonable person can be determined on a classwide basis. Therefore, the different
 2   requirements for UCL and CLRA claims do not warrant different outcomes in the class
 3   certification analysis. For this reason, and because neither party makes arguments unique
 4   to either proposed class, the Court does not separately analyze whether the two proposed
 5   classes satisfy the requirements of Rule 23(a) and (b)(3).
 6                B.     Numerosity
 7         The “numerosity” requirement is satisfied if the “class is so numerous that joinder
 8   of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). Defendants do not dispute that
 9   this requirement is satisfied, and in light of evidence that Costco sold over 1 million units
10   of TruNature Gingko to thousands of consumers during the class period, the putative class
11   easily meets this requirement for class certification.
12                C.     Typicality
13         “To demonstrate typicality, Plaintiffs must show that the named parties’ claims are
14   typical of the class.” Ellis, 657 F.3d at 984; see also Fed. R. Civ. P. 23(a)(3). “Under the
15   rule’s permissive standards, representative claims are ‘typical’ if they are reasonably co-
16   extensive with those of absent class members; they need not be substantially identical.”
17   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). “[W]hen determining
18   typicality, the Court focuses on the defendant’s conduct and the plaintiff’s legal theory, not
19   the specific facts from which the claim arises.” Allen v. Similasan Corp., 306 F.R.D. 635,
20   645 (S.D. Cal. 2015) (citing Parsons v. Ryan, 754 F.3d 657, 685 (9th Cir. 2014)).
21   “Measures of typicality include ‘whether other members have the same or similar injury,
22   whether the action is based on conduct which is not unique to the named plaintiffs, and
23   whether other class members have been injured by the same course of conduct.’” Torres,
24   835 F.3d at 1141 (quoting Hanon, 976 F.2d at 508)).
25         Here, Plaintiff’s theory is that the statements on the labels of TruNature Gingko are
26   false because it provides no health benefits. Every class member was exposed to these
27   statements on the labels of the TruNature Gingko they purchased. According to Plaintiff,
28   anyone who purchased TruNature Gingko suffered the same harm because they would not

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 1   have purchased TruNature Gingko but for these false statements and as a result paid money
 2   for a worthless product. The wrongful conduct (the allegedly false statements) and the
 3   resulting harm (the amount paid to purchase TruNature Gingko) are the same. In other
 4   words, none of Defendants’ allegedly wrongful conduct is unique to the named plaintiff or
 5   any member of the proposed class. Therefore, the typicality requirement is satisfied.
 6                 D.      Adequacy
 7          The “adequacy” requirement is satisfied if the class representative and the attorneys
 8   she hired “fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4);
 9   Hanlon, 150 F.3d at 1020.            Defendants do not contest that Plaintiff’s counsel can
10   adequately represent the class, but they argue that Korolshteyn is not an adequate named
11   plaintiff because of what they deem to be credibility issues. The Court is not persuaded.
12          Defendants rely on a conversation on Facebook between Korolshteyn and her friend
13   Peter Crane, who is an attorney. The transcript of this Facebook conversation indicates
14   that Crane first advised her of the alleged worthlessness of Gingko biloba after she had
15   purchased TruNature Gingko but before she had used it. Defendants then point to
16   Korolshteyn’s deposition testimony that she took the product within a day or two of
17   purchasing it, which would mean that she took it before her Facebook conversation with
18   Crane. [Doc. No. 112-26 at 18-20.]1 However, the Facebook conversation transcript also
19   makes clear that Korolshteyn had purchased TruNature Gingko before the Facebook
20   conversation with Crane, and that she did so based on a hope that “it would help with sleepy
21   mommy brain.” [Doc. No. 112-27 at 3.] Moreover, at her deposition Korolshteyn testified
22   that she read and relied on the label of the bottle before purchasing it. [Doc. No. 112-26 at
23   14.]
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26     The deposition testimony is hardly clear in this regard. Plaintiff purchased the product on October 29,
     2014, and her conversation with Crane began several days later on November 3, 2014. When asked at her
27   deposition eighteen months later about when she first took TruNature Gingko, she estimated that she took
     it only once or twice either the day that she brought it home or the day after, but also stated that she
28   couldn’t recall exactly. [Doc. No. 105-26 at 21-22.]

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 1         Ultimately, the evidence on which Defendants’ rely does not necessarily undermine
 2   Korolshteyn’s credibility or make her an inadequate representative plaintiff. The Facebook
 3   conversation and deposition transcript demonstrate that Korolshteyn’s experience in
 4   purchasing TruNature Gingko is consistent with the plaintiff class’ theory that the
 5   statements about health benefits on the TruNature Gingko packaging are material to the
 6   average consumer and that consumers rely on the statements when purchasing the product.
 7   For all of the reasons discussed below, when Korolshteyn took TruNature Gingko, or even
 8   if she took it at all, is irrelevant to the claims for which she seeks to represent the class.
 9   Accordingly, the adequacy requirement for class certification is satisfied.
10                E.     Commonality and Predominance
11         To satisfy the commonality requirement, a plaintiff must establish that “there are
12   questions of law or fact common to the class.” Fed. R. Civ. P. 23(a)(2). As the Ninth
13   Circuit recently explained:
14         Although Rule 23(a)(2) refers to common “questions of law or fact” in the
           plural, even a single common question will do. Wal–Mart, 131 S.Ct. at 2556.
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           But because “‘[a]ny competently crafted class complaint literally raises
16         common questions,’ ” id. at 2551 (alteration in original) (quoting Richard A.
           Nagareda, Class Certification in the Age of Aggregate Proof, 84 N.Y.U. L.
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           Rev. 97, 131–32 (2009)), courts should look for a “common contention” in
18         determining whether putative class members’ claims can be litigated together.
           Id. “That common contention, moreover, must be of such a nature that it is
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           capable of classwide resolution—which means that determination of its truth
20         or falsity will resolve an issue that is central to the validity of each one of the
           claims in one stroke.” Id. Thus, it is not just the common contention, but the
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           answer to that contention, that is important: “What matters to class
22         certification . . . is not the raising of common ‘questions’—even in droves—
           but, rather the capacity of a classwide proceeding to generate common
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           answers apt to drive the resolution of the litigation.” Id. (alterations in
24         original) (quoting Nagareda, supra, at 132).”
25
     Alcantar v. Hobart Serv., 800 F.3d 1047, 1052 (9th Cir. 2015).
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           “There is substantial overlap between the Rule 23(a)(2) commonality test and the
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     Rule 23(b)(3) predominance tests, but the Rule 23(b)(3) test is ‘far more demanding.’”
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 1   Allen v. Hyland’s Inc., 300 F.R.D. 643, 666 (C.D. Cal. 2014) (quoting Wolin v. Jaguar
 2   Land Rover N. Am., LLC, 617 F.3d 1168, 1172 (9th Cir. 2010)); see also Comcast Corp. v.
 3   Behrend, 133 S.Ct. 1426, 1432 (2013) (“If anything, Rule 23(b)(3)’s predominance
 4   criterion is even more demanding than Rule 23(a).”). “Rule 23(b)(3) requires a showing
 5   that questions common to the class predominate, not that those questions will be answered,
 6   on the merits, in favor of the class.” Amgen, 133 S. Ct. at 1191 (emphasis in original). To
 7   satisfy Rule 23(b)(3), “the common questions must be a significant aspect of the case that
 8   can be resolved for all members of the class in a single adjudication.” Berger, 741 F.3d at
 9   1068 (internal quotation marks and ellipses omitted).
10         “The Rule 23(b)(3) predominance inquiry asks the court to make a global
11   determination of whether common questions prevail over individualized ones. For
12   purposes of this analysis, an individual question is one where members of a proposed class
13   will need to present evidence that varies from member to member, while a common
14   question is one where the same evidence will suffice for each member to make a prima
15   facie showing or the issue is susceptible to generalized, class-wide proof.” Torres, 835
16   F.3d at 1134 (citing Tyson Foods v. Bouaphakeo, 136 S.Ct. 1036, 1045 (2016)) (internal
17   quotation marks and brackets omitted).
18         Plaintiff argues that the common questions that predominate here include whether
19   the statements on the product label are false, and whether those statements are material and
20   likely to deceive a reasonable consumer.     [Doc. No. 107 at 22.] “By definition, class
21   members were exposed to these labeling claims, creating a ‘common core of salient facts.’”
22   McCrary, 2014 WL 1779243, at *10 (quoting Hanlon, 150 F.3d at 1019-20). Courts
23   routinely certify consumer classes where the claims concerned false statements about the
24   efficacy of nutritional supplements or homeopathic remedies in part because the plaintiffs’
25   argument is that the product is worthless because the advertised benefits are not true. See,
26   e.g., Allen v. Similasan Corp., 306 F.R.D. 635, 651 (S.D. Cal. 2015) (certifying class
27   concerning claims of false statements of effectiveness of homeopathic ear, nose, and eye
28   remedies); Allen v. Hyland’s Inc., 300 F.R.D. 643, 672 (C.D. Cal. 2014) (certifying class

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 1   for claims of false statements of effectiveness of various homeopathic remedies);
 2   Forcellati, 2014 WL 1410264, at *12 (certifying class for claims of false statements of
 3   effectiveness of various homeopathic cold and flu remedies); cf. Ries v. Arizona Bev. USA
 4   LLC, 287 F.R.D. 523, 537 (N.D. Cal. 2012) (finding commonality requirement satisfied as
 5   to questions of “whether the use of the terms ‘All Natural’ or ‘100% Natural’ to advertise
 6   beverages that contain HFCS or citric acid violates the UCL, FAL, or CLRA”).
 7         Here, Plaintiff’s entire lawsuit rides on her claim that TruNature Gingko provides
 8   no benefits and that the statements on the product labels are false. The answer to these
 9   questions will be the same for the entire class. Likewise, the determination of whether the
10   statements on the label are material and likely to deceive a reasonable consumer will be the
11   same for the entire class. The answers to these questions will resolve issues that are central
12   to the validity of each class members’ claims in one stroke. Alcantar, 800 F.3d at 1052.
13   These common questions are not only more significant than other questions at issue in this
14   suit, they are the most significant questions in this lawsuit. Therefore, these questions
15   predominate over any individual questions that may arise.
16         Defendants argue that common questions do not predominate because some
17   customers may have received a benefit from TruNature Gingko and thus are not entitled to
18   damages. However, “[t]hat some people believe [Gingko biloba] provides benefits as
19   advertised is beside the point. [Plaintiff’s] ‘claims do not rise or fall on whether individual
20   consumers experienced health benefits, due to the placebo effect or otherwise. They rise or
21   fall on whether [Defendant’s] representations were deceptive.”            Mullins v. Premier
22   Nutrition Corp., 2016 WL 1535057, at *3 (quoting Mullins v. Direct Digital, LLC, 795
23   F.3d 654, 673 (7th Cir. 2015)). “It stands to reason that a product that, in effect, has tricked
24   people into thinking that they received a benefit should not be given credit for actually
25   conferring a benefit.” Allen v. Hyland’s Inc., 300 F.R.D. at 671 n.26. Moreover, “if
26   Plaintiffs’ theory is correct, the belief of some users that the products are effective would
27   necessarily be attributable to the placebo effect. Thus, each of Defendants’ arguments goes
28   to the merits of Plaintiffs’ case, but they fail to demonstrate that Plaintiffs’ claims are not

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 1   subject to common proof.” Id. at 661; Forcellati, 2014 WL 1410264, at *9 (holding that
 2   if the plaintiff could prove allegations that the products’ effectiveness is solely a placebo
 3   effect, “Defendants’ representations about the products’ effectiveness would constitute
 4   false advertising ‘even though some consumers may experience positive results’”) (citing
 5   FTC v. Pantron I Corp., 33 F.3d 1088, 1100 (9th Cir. 1994)); see also Torres, 835 F.3d at
 6   1137 (“[F]ortuitous non-injury to a subset of class members does not necessarily defeat
 7   certification of the entire class, particularly as the district court is well situated to winnow
 8   out those non-injured members at the damages phase of the litigation, or to refine the class
 9   definition.”).2 Ultimately, if Plaintiff can prove that the class would not have purchased
10   TruNature Gingko but for the alleged false statements on the label, class members are
11   entitled to full restitution of the purchase price regardless of any benefit received after the
12   purchase. See Pulaski & Middleman, LLC, 802 F.3d at 989 (holding that the restitution
13   calculation under the UCL “need not account for benefits received after purchase because
14   the focus is on the value of the service at the time of purchase,” meaning “the focus is on
15   the difference between what was paid and what a reasonable consumer would have paid at
16   the time of purchase without the fraudulent or omitted information.”).
17          Defendants also speculate that class members may have purchased TruNature
18   Gingko based on Defendants’ competitors’ advertising about the benefits of Gingko biloba
19   or based on the instructions of doctors or others who recommended Gingko biloba. That
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       Defendants argue throughout their opposition that, contrary to Plaintiff’s allegations and evidence,
     Gingko biloba helps some consumers with memory problems. This dispute over whether Gingko biloba,
23   and more specifically TruNature Gingko, performs as advertised on the label goes to the heart of Plaintiff’s
     case. If Plaintiff cannot prove that the statements on the labels were false and that Gingko biloba has no
24   benefit to memory or otherwise, the class claims will fail. That the class may include non-injured
25   individuals “merely highlights the possibility that an injurious course of conduct may sometimes fail to
     cause injury to certain class members. However, it fails to reveal a flaw that may defeat predominance,
26   such as the existence of large numbers of class members who were never exposed to the challenged
     conduct to begin with.” Torres, 835 F.3d at 1136. “When, as here, the concern about the proposed class
27   is . . . an alleged failure of proof as to an element of the plaintiffs’ cause of action—courts should engage
     that question as a matter of summary judgment, not class certification.” Id. at 1140 (quoting Tyson Foods,
28   136 S.Ct. at 1047).

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 1   class members may have learned about Gingko biloba or TruNature Gingko from other
 2   sources does not absolve Defendants from liability for false statements that appeared on
 3   the labels of the products purchased by the class members. Mullins v. Premier Nutrition
 4   Corp., 2016 WL 1535057, at *3 (“How consumers first learned about Joint Juice—from a
 5   doctor, parent, Joe Montana, or the packaging—does not matter if ‘they nonetheless
 6   decided to purchase the product only for its purported health benefits.’”) (quoting Rikos v.
 7   Proctor & Gamble Co., 799 F.3d 497, 512 (6th Cir. 2015)); see also Ries, 287 F.R.D. at
 8   537 (“[V]ariation among class members in their motivation for purchasing the product, the
 9   factual circumstances behind their purchase, or the price that they paid does not defeat the
10   relatively ‘minimal’ showing required to establish commonality.”).
11         Defendants also argue that Plaintiff does not have a workable damages model. This
12   argument reflects a misunderstanding of Plaintiff’s claims. The TAC alleges, and Plaintiff
13   argues, that TruNature Gingko has no value whatsoever and that any perceived benefits by
14   consumers are merely the result of a placebo effect. If Plaintiff can prove that TruNature
15   Gingko does not have any impact on brain health or memory and therefore does not
16   perform as advertised on the labels and is worthless, the putative class will be entitled to
17   restitution of the full amount they paid for the product. This full refund damages model,
18   particularly considering Costco’s records of purchases of TruNature Gingko, is entirely
19   workable.
20         The cases on which Defendants’ rely are distinguishable because they involve
21   products that could provide some value to their purchasers even if they did not perform as
22   advertised and for which it strains credulity to argue that no consumers would have
23   purchased them if not for the allegedly false statement. This is the case with many food
24   products, because if nothing else, they provide calories, hydration or good taste to the
25   consumer. See In re Pom Wonderful LLC, No. ML 10-2199 DDP (RZx), 2014 WL
26   1225184, at *3 (C.D. Cal. Mar. 25, 2014) (holding that the plaintiffs could not “plausibly
27   contend that they did not receive any value at all from Defendant’s’ juice products.”). It is
28   also true for a product like a television where consumers value a variety of factors when

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 1   choosing which television to buy. See Pierce-Nunes v. Toshiba Am. Info. Sys., Inc., No.
 2   CV 14-7242-DMG (KSx), 2016 WL 5920345, at *7 (C.D. Cal. Jun. 23, 2016). Unlike
 3   these other products, it is plausible to contend that no one would have purchased TruNature
 4   Gingko if not for the representations on the label, and that if the representations on the label
 5   are false, consumers who purchased TruNature Gingko did not receive any value and are
 6   entitled to a full refund of their purchase price. In this regard, supplements like Gingko
 7   biloba are entirely distinct from food or televisions because consumers know generally the
 8   purpose of food and the function of a TV without reading a description on the label.
 9   Consumers do not necessarily know what benefit a supplement like Gingko biloba provides
10   without reading the label. Accordingly, any damages calculation issues are not an obstacle
11   to class certification.
12          In sum, “[t]he Court finds that Plaintiff’s full refund damages model matches h[er]
13   theories of liability. Plaintiff claims that [Gingko biloba] is valueless, and Plaintiff has
14   produced evidence that supports h[er] claim. If the finder of fact finds that [Gingko biloba]
15   is in fact valueless then that justifies fully refunding the class for their purchases.” Lambert
16   v. Nutraceutical Corp., No. CV 13-05942-AB (Ex), 2015 WL 12655388, at *4 (C.D. Cal.
17   Feb. 20, 2015).
18          Because common questions that are subject to resolution using classwide proof
19   predominate, the commonality and predominance requirements are met.
20                 F.     Superiority
21          “Rule 23(b)(3) requires that a class action be ‘superior to other available methods
22   for fairly and efficiently adjudicating the controversy,’ and it specifically mandates that
23   courts consider ‘the likely difficulties in managing a class action.’” Briseno, 844 F.3d at
24   1128 (quoting Fed. R. Civ. P. 23(b)(3)(D)). Defendants argue that a class action is not
25   superior because Costco offers refunds without a receipt and that it would be easier to
26   simply allow dissatisfied class members to obtain refunds from Costco.            However, as
27   Plaintiff points out in her reply, allowing class members to obtain a refund is not an
28   alternative to “adjudicating” whether Defendants are liable for material misrepresentations

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 1   on the labels of their products. If it were, then Costco (and any retail store) could freely
 2   misrepresent the benefits of their products secure in the knowledge that their return policy
 3   effectively immunizes them from any suit seeking restitution. Moreover, to require each
 4   absent class member to drive to a Costco store, wait in line, deal with an employee and ask
 5   for a relatively small refund is not superior to obtaining relief as a class. Accordingly, the
 6   superiority requirement is satisfied.
 7          V.        Conclusion
 8          For the foregoing reasons, the Court finds that: (a) the class is sufficiently numerous;
 9   (b) named plaintiff Tatiana Korolshteyn’s claims are typical of the class and that she and
10   her counsel will adequately represent the class; (c) common questions subject to classwide
11   proof predominate; and (d) a class action is superior to other methods of adjudicating this
12   controversy and will not be difficult to manage. Accordingly, it is hereby ORDERED as
13   follows:
14          1.      Plaintiff’s motion for class certification [Doc. No. 105] is GRANTED.
15          2.      The following class is certified:
16                  All California consumers who, within the applicable statute of
                    limitations, purchased TruNature Gingko Biloba with Vinpocetine until
17
                    the date notice is disseminated.3
18
19          3.      Plaintiff Tatiana Korolshteyn is appointed as class representative.

20          4.      Plaintiff’s counsel of record Bonnett, Fairbourn, Friedman, & Balint, P.C. and
21                  Boodell & Domanskis, LLC are appointed as class counsel.

22          5.      Defendants’ motion to exclude Plaintiffs’ expert testimony [Doc. No. 113] is
23                  DENIED without prejudice.

24
     3
25     The motion seeks certification of two classes, but they are defined identically. The motion does not
     explain why a separate class for each claim is needed and the opposition does not distinguish between the
26   two classes when arguing why the motion should be denied. Presumably, the only reason for seeking
     certification of two identically defined classes is a difference in the statute of limitations between the two
27   claims. However, because the relief sought for each claim is identical, the Court is unclear why this
     distinction is needed. In any event, this distinction is something that can be addressed, if needed, on any
28   notice to the class.

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          6.    Plaintiff’s motion to strike the declaration of Dr. Susan Mitmesser [Doc. No.
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                122] is DENIED without prejudice.
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          7.    Plaintiff’s motion to strike the declaration and revised report of Dr. Edward
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                Rosick [Doc. No. 125] is DENIED without prejudice.
 5
          8.    On or before March 31, 2017, class counsel shall meet and confer with
 6
                defense counsel regarding the proposed method and form of class notice. Any
 7              agreed-upon notice shall be presented to the Court for approval no later than
                April 7, 2017. In the event the Parties cannot agree upon the form of the
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                notice, each side shall file its proposal on April 7, 2017.
 9
10        It is SO ORDERED
11   Dated: March 16, 2017
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